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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


THOMAS W. SHERWOOD                  :
                                    : CIVIL ACTION
            Plaintiff               :
                                    :
      vs.                           : NO. 17-CV-2694
                                    :
EVANSTON INSURANCE COMPANY          :
                                    :
            Defendant               :


                                    ORDER

      AND NOW, this         17th          day of October, 2017, upon

consideration of Defendant’s Motion for Judgment on the Pleadings

(Doc. No. 6) and Plaintiff’s Response in Opposition thereto, it

is hereby ORDERED that the Motion is DENIED.1


                                            BY THE COURT:




                                            s/J. Curtis Joyner
                                            J. CURTIS JOYNER,           J.

      1
         Under Fed. R. Civ. P. 12(c), “[a]fter the pleadings are closed - but
early enough not to delay trial - a party may move for judgment on the
pleadings.” “A court will grant a motion for judgment on the pleadings if the
movant establishes that ‘there are no issues of material fact, and that he is
entitled to judgment as a matter of law.’” Allstate Property & Casualty
Insurance Co. v. Squires, 667 F.3d 388, 390 (3d Cir. 2012)(quoting Sikirica v.
Nationwide Insurance Co., 416 F.3d 214, 220 (3d Cir. 2005)). “In considering
a motion for judgment on the pleadings, a court must accept all of the
allegations in the pleadings of the party against whom the moiton is addressed
as true and draw all reasonable inferences in favor of the non-moving party.”
Id.(citing Allah v. Al-Hafeez, 226 F.3d 247, 249 (3d Cir. 2000)).

     In applying the foregoing Rule 12(c) standards to this case, we find
there are indeed issues of material fact as to who and whether the insured
property sustained damage as the result of a covered cause of loss to its roof
under the policy of insurance which Plaintiff purchased from Defendant. The
defendant’s motion for judgment on the pleadings is therefore denied.
